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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                           )
                                                   )
              v.                                   )      Criminal No. 15-10338-FDS
                                                   )
6.     HERZZON SANDOVAL                            )
       a/k/a “CASPER,”                             )
                                                   )
7.     EDWIN GUZMAN                                )
       a/k/a “PLAYA,”                              )
                                                   )
11.    CESAR MARTINEZ                              )
       a/k/a “CHECHE,”                             )
                                                   )
14.    ERICK ARGUETA LARIOS                        )
       a/k/a “LOBO,”                               )
                                                   )
                     Defendants                    )


                GOVERNMENT’S PROPOSED JURY INSTRUCTIONS

       The United States submits the following proposed jury instructions to assist the Court

in drafting its charge to the jury. The government respectfully requests that the Court give

substantially the same instructions that were provided to the jury in the November trial of

defendant Rafael Leoner-Aguirre, with the modifications identified herein. The government

reserves its right to supplement or modify these requested instructions.

       For ease of reference, the government lists below the instructions given at the

November trial of Rafael Leoner-Aguirre and identifies whether the instruction given in that

case should be modified or omitted entirely in light of the charges and evidence presented in
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this case.1 The government also lists below additional instructions that it requests be given to

the jury in this case.

                                                   Respectfully submitted,

                                                   ANDREW E. LELLING
                                                   United States Attorney

                                            By:    /s/ Kelly Begg Lawrence
                                                   KELLY BEGG LAWRENCE
                                                   CHRISTOPHER POHL
                                                   Assistant United States Attorneys




                               CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the Court’s Electronic Court Filing
(ECF) system on February 6, 2018, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing (NEF).

                                            By:    /s/ Kelly Begg Lawrence
                                                   KELLY BEGG LAWRENCE
                                                   Assistant United States Attorney




       1
          Apart from the substantive changes proposed herein, the government requests that
all of the instructions be modified to refer to “defendants” rather than “the defendant.” The
government also requests that the Court instruct the jury, where appropriate, that it must
consider the evidence separately as to each defendant and as to each count with which a
defendant is charged.

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INSTRUCTION GIVEN AT NOVEMBER TRIAL                   CHANGE REQUESTED

DUTY OF THE JURY TO FIND FACTS AND FOLLOW THE LAW

PRESUMPTION OF INNOCENCE; PROOF BEYOND A
REASONABLE DOUBT

DEFENDANT’S CONSTITUTIONAL RIGHT NOT TO TESTIFY

VERDICT BASED SOLELY ON THE EVIDENCE; IMPROPER
CONSIDERATIONS

THE EVIDENCE

WHAT IS NOT EVIDENCE

KINDS OF EVIDENCE—DIRECT AND CIRCUMSTANTIAL

INFERENCES

CAUTIONARY AND LIMITING INSTRUCTIONS

STIPULATIONS

CREDIBILITY OF WITNESSES

PRIOR INCONSISTENT STATEMENTS

LAW ENFORCEMENT AND GOVERNMENT WITNESSES

COOPERATING WITNESSES

IMMUNIZED WITNESSES

LAW ENFORCEMENT TESTS AND INVESTIGATIVE TECHNIQUES

CHARTS AND SUMMARIES

NOTE-TAKING

EXHIBIT NUMBERS

ELEMENTS OF THE CRIME—INTRODUCTION                          MODIFY

CONSPIRACY AND SUBSTANTIVE CRIMES

CONSPIRACY—AGREEMENT

OBJECT OF THE CONSPIRACY



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CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A
PATTERN OF RACKETEERING ACTIVITY––ELEMENTS OF THE
CRIME

FIRST ELEMENT

FIRST ELEMENT––AGREEMENT CHARGED IN THE INDICTMENT

FIRST ELEMENT—OBJECT OF THE CONSPIRACY

FIRST ELEMENT––“ENTERPRISE”

FIRST ELEMENT—AFFECTING “INTERSTATE COMMERCE”

FIRST ELEMENT—“RACKETEERING ACTIVITY”                       MODIFY

FIRST ELEMENT—“PATTERN”

SECOND ELEMENT––KNOWINGLY AND WILLFULLY JOINING
CONSPIRACY

SECOND ELEMENT––KNOWLEDGE OF AIMS OF CONSPIRACY

SECOND ELEMENT––INDIRECT PROOF OF INTENT

THIRD ELEMENT––AGREEMENT TO COMMIT RACKETEERING
ACTS

THIRD ELEMENT—RACKETEERING ACTS—MASSACHUSETTS               MODIFY
AND FEDERAL LAW

THIRD ELEMENT––NO PROOF OF SPECIFIC RACKETEERING
ACTS REQUIRED

THIRD ELEMENT—UNANIMOUS AGREEMENT ON TYPE OF                MODIFY
RACKETEERING ACTIVITY

THIRD ELEMENT—RACKETEERING ACTS—MASSACHUSETTS
LAW—HOMICIDE

THIRD ELEMENT—RACKETEERING ACTS—MASSACHUSETTS                OMIT
LAW—ROBBERY

THIRD ELEMENT—RACKETEERING ACTS—FEDERAL LAW

THIRD ELEMENT—NON-RACKETEERING ACTS—                         OMIT
MASSACHUSETTS LAW

EVIDENCE OF DEFENDANT’S INCARCERATION                        OMIT

WITHDRAWAL FROM CONSPIRACY

FOREPERSON’S ROLE; UNANIMITY


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REACHING AGREEMENT

RETURN OF VERDICT FORM

COMMUNICATION WITH THE COURT




PROPOSED ADDITIONAL INSTRUCTIONS

CONSPIRACY TO DISTRIBUTE OR POSSESS WITH INTENT TO DISTRIBUTE COCAINE—
ELEMENTS OF THE CRIME

FIRST ELEMENT––CONSPIRACY TO DISTRIBUTE OR POSSESS WITH INTENT TO
DISTRIBUTE COCAINE

SECOND ELEMENT—KNOWINGLY AND WILLFULLY JOINING CONSPIRACY

DRUG QUANTITY ELEMENT




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                    ELEMENTS OF THE CRIMES—INTRODUCTION

       I am now going to give you some instructions on the nature of the crimes charged in

the indictment and the elements of the crimes that the government must prove beyond a

reasonable doubt.

       The indictment contains two charges against the defendants.

       First, the indictment charges Mr. Sandoval, Mr. Guzman, Mr. Martinez, and Mr.

Argueta Larios with conspiracy to commit racketeering. Racketeering is a crime under

federal law. Conspiracy to commit racketeering is also a crime under federal law—it is a

separate crime from racketeering.

       “Racketeering” means conducting the affairs of an “enterprise” that affects

“interstate commerce” through a “pattern” of “racketeering activity.” Each of those terms

has a particular meaning, which I will explain to you.

       Second, the indictment charges Mr. Martinez and Mr. Argueta Larios with

conspiracy to distribute or possess with intent to distribute a controlled substance, namely,

cocaine. Distribution and possession with intent to distribute cocaine are crimes under

federal law. Conspiracy to distribute or possess with intent to distribute cocaine is also a

crime under federal law—it is a separate crime from distribution or possession with intent to

distribute cocaine.

       Again, all four of the defendants are charged with conspiracy to commit

racketeering. Two of the defendants, Mr. Martinez and Mr. Argueta Larios, are also

charged with conspiracy to distribute cocaine. You must consider the evidence separately as

to each defendant and as to each count with which a defendant is charged.

       I will begin by explaining the meaning of a “conspiracy.”


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                  FIRST ELEMENT—“RACKETEERING ACTIVITY”

       The “enterprise” must be one “affecting interstate commerce” through a “pattern” of

“racketeering activity.” I will first define “racketeering activity,” and then define “pattern.”

       “Racketeering activity” consists of “racketeering acts.” “Racketeering acts” are

certain specific crimes defined by federal law. The racketeering acts alleged in this case are

the following crimes:

              murder,

              assault with intent to commit murder,

              armed assault with intent to murder,

              conspiracy to commit murder, and

              criminal offenses involving trafficking in narcotics.

       In a moment, I will explain the elements of some of these offenses in more detail.




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                    THIRD ELEMENT—RACKETEERING ACTS—
                      MASSACHUSETTS AND FEDERAL LAW

       Again, the definition of “racketeering acts” is limited to a specific list of crimes set by

statute. Furthermore, the indictment charges that the pattern of racketeering activity

engaged in by the enterprise (that is, by MS-13) consisted of certain specific types of crimes,

generally involving murder and drug trafficking.

       There are many other crimes that do not qualify as “racketeering acts.” For

example, crimes relating to the use, possession, or distribution of firearms are not

racketeering acts. In order to be convicted of conspiracy to commit racketeering, the

government must prove that the defendants agreed that one member or members of the

enterprise would commit crimes that qualify as racketeering acts by law, and that are

specified in the indictment.

       In order to decide that, you need to know the definitions of those crimes. Therefore,

I will instruct you on the elements of those crimes.

       Again, the defendants are not charged with having committed any of these crimes.

They are charged with conspiracy to commit racketeering. I am providing you with these

definitions so that you can determine whether the object of the conspiracy was to conduct

the affairs of an enterprise through a pattern of racketeering activity. I will also instruct you

on the definitions of certain related crimes that are not racketeering acts, to try to give you a

reasonably clear picture of what the law requires.




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                   THIRD ELEMENT—UNANIMOUS AGREEMENT
                     ON TYPE OF RACKETEERING ACTIVITY

       Again, the government is not required to prove that any specific acts are racketeering

acts, or that any such acts occurred at all. However, the government must prove that the

defendants agreed to join an enterprise engaged in particular types of racketeering acts. You

must unanimously agree on which type or types of racketeering activity that the defendants

agreed the enterprise would conduct—for example, at least two acts of murder, at least two

acts of attempted murder, or at least two acts of narcotics trafficking, or all of them, or any

combination of them.




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          CONSPIRACY TO DISTRIBUTE OR POSSESS WITH INTENT TO
             DISTRIBUTE COCAINE––ELEMENTS OF THE CRIME

       As I explained to you earlier, two of the defendants in this case, Mr. Martinez and

Mr. Argueta Larios, are also charged with the crime of conspiracy to distribute or possess

with intent to distribute cocaine.

       For you to find the defendants guilty of that crime, you must be convinced that the

government has proved two things beyond a reasonable doubt:

       First, that there was a conspiracy to distribute or possess with intent to distribute

cocaine; and

       Second, that the defendants knowingly and willfully joined in that conspiracy.

       If you find either or both of the defendants guilty of this cocaine conspiracy charge,

you will also have to find beyond a reasonable what quantity of cocaine each defendant

agreed to distribute or possess with intent to distribute.

       I will now explain what those elements mean.




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FIRST ELEMENT––CONSPIRACY TO DISTRIBUTE OR POSSESS WITH INTENT
                   TO DISTRIBUTE COCAINE

       The first element the government must prove beyond a reasonable doubt is that there

was a conspiracy to distribute or possess with intent to distribute cocaine. I have already

explained to you that a “conspiracy” is an agreement among two or more persons to

commit a crime. Right now, we are talking about the crime of distribution or possession

with intent to distribute cocaine.

       As I stated earlier, the elements of distribution or possession with intent to distribute

a controlled substance are: (1) possession with intent to distribute or distribution of a

controlled substance to another person, (2) knowledge or belief that the substance was a

controlled substance, and (3) intentional action or conscious object to transfer the controlled

substance to another person.

       The term “possess” means to exercise authority, dominion, or control over

something. The law recognizes different kinds of possession. “Possession” includes both

actual and constructive possession. A person who has direct physical control of something

on or around his person is then in actual possession of it. A person who is not in actual

possession, but who has both the power and the intention to exercise control over something

is in constructive possession of it. Whenever I use the term “possession” in these

instructions, I mean actual as well as constructive possession.

       The term “distribute” means to transfer or give something to another person. It is not

necessary that the defendants actually delivered cocaine to someone else, or that they made

any money out of the transaction.

       Nor is it necessary to find that the substance the defendants agreed to deliver was

actually cocaine or that the person to whom they agreed to deliver it was an actual

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purchaser of cocaine, as opposed to a government agent. It is enough for the government to

prove, beyond a reasonable doubt, that the defendants believed that the substance they

distributed or possessed with intent to distribute was cocaine, and it was their conscious

object to distribute or possess with intent to distribute that substance to another person.




Authority

Pattern Criminal Jury Instructions for the District Courts of the First Circuit
4.21.841(a)(1)A, 4.21.841(a)(1)B, 4.21.846. See District of Maine Internet Site Edition,
available at: http://www.med.uscourts.gov/pdf/crpjilinks.pdf (updated 12/14/17).

See also United States v. Jimenez Recio, 537 U.S. 270, 274-77 (2003) (holding that the
government’s “defeat of the conspiracy’s objective will not necessarily and automatically
terminate the conspiracy”); United States v. Belardo-Quiones, 71 F.3d 941, 944 (1st Cir. 1995)
(conspiracy exists even if, unbeknownst to conspirators, crime is impossible to commit);
United States v. LaBudda, 882 F.2d 244, 248 (7th Cir. 1989) (defendants can be found guilty
of conspiracy even if conspiracy’s objective “is unattainable from the very beginning”).




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SECOND ELEMENT––KNOWINGLY AND WILLFULLY JOINING CONSPIRACY

       The second element the government must prove beyond a reasonable doubt is that

the defendants knowingly and willfully joined in the conspiracy to distribute or possess with

intent to distribute cocaine that is charged in the indictment. I have already explained to you

what it means to act “knowingly” and “willfully.”




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                              DRUG QUANTITY ELEMENT


       If you find one or both of the defendants guilty of conspiracy to distribute or possess

with intent to distribute cocaine, you must also determine whether the government has

proved beyond a reasonable doubt the quantity of the cocaine involved. Specifically, you

must find beyond a reasonable doubt the quantity of cocaine attributable to or reasonably

foreseeable by the defendant or defendants that you have found to be guilty of the cocaine

conspiracy.




Authority

First Circuit Pattern Criminal Jury Instructions, §§4.21.841(a)(1)A, 4.21.841(a)(1)B,
4.21.846. See also Alleyne v. United States, 570 U.S. 99 (2013); Apprendi v. New Jersey, 530 U.S.
466 (2000); United States v. Rivera-Ruperto, 852 F.3d 1 (1st Cir. 2017) (requiring court to
instruct jury to make its drug-quantity findings beyond a reasonable doubt).




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